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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

 SHANE SCOFIELD, individually and on               :
 behalf of all others similarly situated,          :   Civil File No.
                                                   :
           Plaintiff,                              :
                                                   :
                                                   :   COMPLAINT – CLASS ACTION
 v.                                                :
                                                   :
 FUNDMERICA INC.                                   :
                                                   :
           Defendant.                              :
                                                   :
                                                   :


                                      Preliminary Statement

          1.      As the Supreme Court has explained, “Americans passionately disagree about

many things. But they are largely united in their disdain for robocalls. The Federal Government

receives a staggering number of complaints about robocalls—3.7 million complaints in 2019

alone. The States likewise field a constant barrage of complaints. For nearly 30 years, the

people’s representatives in Congress have been fighting back. As relevant here, the Telephone

Consumer Protection Act of 1991, known as the TCPA, generally prohibits robocalls to cell

phones and home phones.” Barr v. Am. Ass'n of Political Consultants, 140 S. Ct. 2335, 2343

(2020).

          2.      The Plaintiff Shane Scofield alleges Fundmerica Inc. (“Fundmerica”) made pre-

recorded telemarketing calls for purposes of promoting Fundmerica’s capital lending services.

They did so and contacted individuals without their prior express written consent.
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          3.      Because these calls were transmitted using technology capable of generating

  thousands of similar calls per day, plaintiff sues on behalf of a proposed nationwide class of

  other persons who received similar calls.

          4.      A class action is the best means of obtaining redress for the Defendant’s illegal

  telemarketing and is consistent both with the private right of action afforded by the TCPA and

  the fairness and efficiency goals of Rule 23 of the Federal Rules of Civil Procedure.

                                                  Parties

          5.      Plaintiff is an individual residing in this District.

          6.      Defendant Fundmerica Inc. is a corporation with its principal place of business in

  California.

                                          Jurisdiction & Venue

        7.        The Court has federal question subject matter jurisdiction over these TCPA

claims. Mims v. Arrow Financial Services, LLC, 132 S. Ct. 740 (2012).

        8.        The Court has personal jurisdiction over Fundmerica because it made

telemarketing calls into this District.

        9.        Venue is proper under 28 U.S.C. § 1391(b)(2) because the Plaintiff was contacted

with a telemarketing call in this District.

                                          TCPA Background

          10.     In 1991, Congress enacted the TCPA to regulate the explosive growth of the

  telemarketing industry. In so doing, Congress recognized that “[u]nrestricted telemarketing . . .

  can be an intrusive invasion of privacy[.]” Telephone Consumer Protection Act of 1991, Pub. L.

  No. 102-243, § 2(5) (1991) (codified at 47 U.S.C. § 227).


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The TCPA prohibits automated telemarketing calls to cellular telephones

        11.     The TCPA makes it unlawful “to make any call (other than a call made for

emergency purposes or made with the prior express consent of the called party) using an

automatic telephone dialing system or an artificial or prerecorded voice . . . to any telephone

number assigned to a . . . cellular telephone service ….” See 47 U.S.C. § 227(b)(1)(A).

        12.     The TCPA provides a private cause of action to persons who receive calls in

violation of 47 U.S.C. § 227(b)(1)(A). See 47 U.S.C. § 227(b)(3).

        13.     According to findings by the Federal Communication Commission (“FCC”), the

agency Congress vested with authority to issue regulations implementing the TCPA, such calls

are prohibited because, as Congress found, automated or prerecorded telephone calls are a

greater nuisance and invasion of privacy than live solicitation calls, and such calls can be costly

and inconvenient.

        14.     The FCC also recognized that “wireless customers are charged for incoming calls

whether they pay in advance or after the minutes are used.” In re Rules and Regulations

Implementing the Tel. Consumer Prot. Act of 1991, CG Docket No. 02-278, Report and Order,

18 FCC Rcd 14014, 14115 ¶ 165 (2003).

        15.     In 2012, the FCC required prior express written consent for all autodialed or

prerecorded telemarketing calls (“robocalls”) to wireless numbers and residential lines.

Specifically, it ordered that:

        [A] consumer’s written consent to receive telemarketing robocalls must be signed
        and be sufficient to show that the consumer: (1) received “clear and conspicuous
        disclosure” of the consequences of providing the requested consent, i.e., that the
        consumer will receive future calls that deliver prerecorded messages by or on behalf
        of a specific seller; and (2) having received this information, agrees unambiguously
        to receive such calls at a telephone number the consumer designates.[] In addition,

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        the written agreement must be obtained “without requiring, directly or indirectly,
        that the agreement be executed as a condition of purchasing any good or service.”

In the Matter of Rules & Regulations Implementing the Tel. Consumer Prot. Act of 1991, 27 FCC

Rcd 1830, 1844 (2012) (footnotes omitted).

                                       Factual Allegations

        16.     Plaintiff is, and at all times mentioned herein were, a “person” as defined by

47 U.S.C. § 153(39).

Calls to Plaintiff Scofield

        17.     Plaintiff’s telephone number, (970)-XXX-9449, is registered to a cellular

telephone service, which is the number he received the pre-recorded call on.

        18.     That number was on the National Do Not Call Registry prior to receiving the call

at issue.

        19.     Despite this, the Plaintiff received a pre-recorded call from the Defendant on

March 1, 2022.

        20.     The pre-recorded message stated:

                       Hi, this is Jessica calling with the funding department at Quick Fund
                       Capital. I'm follow up on a piece of mail we sent your company regarding
                       a pre-approval for a business line of credit up to $145,000 with rates
                       starting at a 4.9%. Your personal credit score is not a factor. This pre-
                       approval is based on your business industry and cashflow. However, it is
                       imperative that I speak with you as soon as possible before this
                       preapproval expires. You can reach me directly at 800-325-7609. Again,
                       my number is 800-325-7609. I look forward to speaking with you and I
                       hope you have a blessed day.

        21.     The call was clearly pre-recorded based on (a) the pause prior to the beginning of

the message (b) the monotone nature of the recording used (c) the non-personalized nature of the

solicitation.

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       22.     To identifying who was calling his number using a pre-recorded message, the

Plaintiff called back 800-325-7609.

       23.     The Plaintiff spoke to “Larry”, who promoted the defendant’s loan services.

       24.     “Larry” asked the Plaintiff a series of questions regarding loan services, such as

his yearly income and how long he has been in business.

       25.     “Larry” then informed the Plaintiff that he worked for FundMerica.

       26.     To confirm the solicitation, “Larry” sent an e-mail to the Plaintiff entitled

“FundMerica”.

       27.     The e-mail was from “esign@fundmerica-loans.com”.

       28.     This is a domain of the Defendant.

       29.     The calls were not necessitated by an emergency.

       30.     Plaintiff’s privacy has been violated by the above-described telemarketing

robocalls from, or on behalf of, Defendants. The calls were an annoying, harassing nuisance.

       31.     Plaintiff and all members of the Class, defined below have been harmed by the

acts of Defendants because their privacy has been violated.

       32.     The calls occupied their cellular telephone lines, rendering them unavailable for

legitimate communication.


                              CLASS ACTION ALLEGATIONS

       33.     Plaintiff brings this action on behalf of himself and the following class (the

“Class”) pursuant to Federal Rule of Civil Procedure 23.

       34.     Plaintiff proposes the following Class definition, subject to amendment as

appropriate:

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       Robocall Class: All persons within the United States: (1) to whose cellular telephone
       number or other number for which they are charged for the call (2) Defendant (or an
       agent acting on behalf of Defendant) placed a telemarketing call (3) within the four years
       prior to the filing of the Complaint and through trial (4) using an identical or substantially
       similar pre-recorded message used to place a telephone call to Plaintiff.

       35.     Plaintiff is a member of and will fairly and adequately represent and protect the

interests of this class as he has no interests that conflict with any of the class members.

       36.     Excluded from the Class are counsel, the Defendant, and any entities in which the

Defendant has a controlling interest, the Defendant’s agents and employees, any judge to whom

this action is assigned, and any member of such judge’s staff and immediate family.

       37.     Plaintiff and all members of the Class have been harmed by the acts of the

Defendant, including, but not limited to, the invasion of their privacy, annoyance, waste of time,

the use of their telephone power and network bandwidth, and the intrusion on their telephone that

occupied it from receiving legitimate communications.

       38.     This Class Action Complaint seeks injunctive relief and money damages.

       39.     The Class as defined above are identifiable through the Defendant’ dialer records,

other phone records, and phone number databases.

       40.     Plaintiff does not know the exact number of members in the Class, but Plaintiff

reasonably believes Class members number, at minimum, in the hundreds in each class.

       41.     The joinder of all Class members is impracticable due to the size and relatively

modest value of each individual claim.

       42.     Additionally, the disposition of the claims in a class action will provide substantial

benefit to the parties and the Court in avoiding a multiplicity of identical suits.




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       43.     There are well defined, nearly identical, questions of law and fact affecting all

parties. The questions of law and fact, referred to above, involving the class claims predominate

over questions which may affect individual Class members.

       44.     There are numerous questions of law and fact common to Plaintiff and to the

proposed Class, including but not limited to the following:

               (a) Whether the Defendant used pre-recorded message to send telemarketing
                   calls;

               (b) whether Defendant made calls to Plaintiff and members of the Class without
                   first obtaining prior express written consent to make the calls;

               (c) whether Defendant’ conduct constitutes a violation of the TCPA; and

               (d) whether members of the Class are entitled to treble damages based on the
                   willfulness of Defendant’ conduct.

       45.     Further, Plaintiff will fairly and adequately represent and protect the interests of

the Class. Plaintiff has no interests which are antagonistic to any member of the Class.

       46.     Plaintiff has retained counsel with substantial experience in prosecuting complex

litigation and class actions, and especially TCPA class actions. Plaintiff and his counsel are

committed to vigorously prosecuting this action on behalf of the other members of the Class, and

have the financial resources to do so.

       47.     Common questions of law and fact predominate over questions affecting only

individual class members, and a class action is the superior method for fair and efficient

adjudication of the controversy. The only individual question concerns identification of class

members, which will be ascertainable from records maintained by Defendant and/or its agents.

       48.     The likelihood that individual members of the Class will prosecute separate actions

is remote due to the time and expense necessary to prosecute an individual case.

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       49.      Plaintiff is not aware of any litigation concerning this controversy already

commenced by others who meet the criteria for class membership described above.

                                 FIRST CAUSE OF ACTION
                     Violation of the Telephone Consumer Protection Act
                        (47 U.S.C. 227(b)) on behalf of the Robocall Class

       50.      Plaintiff incorporates the allegations from the foregoing paragraphs as if fully set

forth herein.

       51.      The foregoing acts and omissions of Defendant and/or their affiliates, agents,

and/or other persons or entities acting on Defendant’s behalf constitute numerous and multiple

violations of the TCPA, 47 U.S.C. § 227, by making calls, except for emergency purposes, to the

cellular telephone numbers of Plaintiff and members of the Class delivering pre-recorded

messages.

       52.      As a result of Defendant’s and/or its affiliates, agents, and/or other persons or

entities acting on Defendant’s behalf’s violations of the TCPA, 47 U.S.C. § 227, Plaintiff and

members of the Class presumptively are entitled to an award of $500 in damages for each and

every call made to their residential or cellular telephone numbers using an artificial or

prerecorded voice in violation of the statute, pursuant to 47 U.S.C. § 227(b)(3)(B).

       53.      If the Defendant’s conduct is found to be knowing or willful, the Plaintiff and

members of the Class are entitled to an award of up to treble damages.

       54.      Plaintiff and members of the Class are also entitled to and do seek injunctive

relief prohibiting Defendant and/or its affiliates, agents, and/or other persons or entities acting on

Defendant’s behalf from violating the TCPA, 47 U.S.C. § 227, by making calls, except for




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emergency purposes, to any cellular telephone numbers using an artificial or prerecorded voice

in the future.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff, individually and on behalf of the Class, prays for the

following relief:

        A.       Injunctive relief prohibiting Defendant from calling telephone numbers

advertising their goods or services, except for emergency purposes, using a pre-record message

in the future;

        B.       That the Court enter a judgment awarding Plaintiff and all class members

statutory damages of $500 for each violation of the TCPA and $1,500 for each knowing or

willful violation; and

        C.       An order certifying this action to be a proper class action pursuant to Federal Rule

of Civil Procedure 23, establishing an appropriate Classes the Court deems appropriate, finding

that Plaintiff is a proper representative of the Class, and appointing the lawyers and law firms

representing Plaintiff as counsel for the Class;

        D.       Such other relief as the Court deems just and proper.

                                        JURY DEMAND

        Plaintiff requests a jury trial as to all claims of the complaint so triable.




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Dated: March 14, 2022               Respectfully submitted,


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